 

 

Case 2:17-cv-04776-CJB-KWR Document 2-1 Filed 05/10/17 Page 1 of 3

 

 

 

 

 

 

 

FILED;

 

DEPUTY CLERK

PETITION FOR DAMAGES

The petition of DIANE RATCLIFF, a person of the full age of majority and resident of

and domiciled in the Parish of Orleans, State of Louisiana, with respect represents:

DALE NJATKINS
* CLERK, CIVIL DISTRICT COURT
That made defendants herein, WINN-DIXIBISTORESPINCsebhidradon authorized to

do and doing business in the State of Louisiana, WINN-DIRLE, MONTCUMERY, LLC a

corporation authorized to do and doing business #§the®Stat@29P Louisiana are liable unto your

petitioner in a true and full sum in excess of FIFTY THOWSAIED ($50, G00 0G) DOLEAR Gr tegether

7 7 4: yes R tM
with legal interest from date of judicial demand and, thie. cost of thes hese proceedings for the following

 

 

 

reasons to-wit: Register CDCCASH4
Case Number 204 -02044
If. Srand Total $900.50

That on or about the 4th day of August, 2d 6 RANE RA TqhTRE was shopping in the
freezer section of Winn-Dixie store #1430 on §4QG,gEchoupitoulas Steet in New Orleans,

Louisiana when she slipped and fell in a puddl@ axfnwater rtherabiorhbing injuries to your
Check # B7S78 $560.50

 

petitioner.

 

Tit. Kem Charged Patd Bal

‘That at all material times pertinent hereto WENSDERTE SPORES, DNEAAG/EEWENNED 29
Fax Fees $22.50 $2250 Fo
DIXIE MONTGOMERY, LLC, contained vicesiand/an defegts which posq am unrgasenable, oo
risk of harm to your petitioner, rendering WINN-DIXT#' STORES, INC. andor WINK DIRIEE 27
Indigant Legal Fae $10.00 $10.00 fo.
MONTGOMERY, LLC, and its officers, employges and agents liable undgrd.quisiana, Ativiels oo

Code Article 2317, 2317.1 and 2322 for the damaged Sg AA By your petition 20: S100: S000
Request farPre Bia.dd Fire.0ad Fal

TY. on of Dosumants
That, in the alternative, the doctrine res ipsa reall EGFuppiRe inthis mattel. “Bisthi#f ae ue O°
negligence should be inferred in this case because the “facts indicate that the probable cause of
plaintiff's slip and fall was as a result of the negligence of WINN-DIXIE STORES, INC. and/or
WINN DIXIE MONTGOMERY, LLC in failing to maintain its premises in a safe and hazard free
condition for the safety and well-being of its patrons.

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VERE DEFENDANT'S

OY E40 7 j EXHIBIT

 

 

 
 

 

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That your petitioner, DIANE RATCLIFF, as a result of the above described acts of
negligence suffered injuries to her right hip, right buttock, neck, back and right knee. She
additionally has suffered physical pain and suffering past, present and future and has suffered
mental anguish, past, present and future, loss of enjoyment of life past, present and future,

incurred medical expenses, past, present and future,
VI.

The above described acts were caused solely and/or concurrently through the negligent
acts and/or omissions of WINN-DIXIE STORES, INC. and/or WINN DIXIE
MONTGOMERY, LLC, its officer, employees and agents which negligence is more particularly

described as follows:

a) Failing to maintain its premises in a safe and hazard free condition;
b) Failing to warn its patrons of a hazardous and dangerous condition;
c) Failing to repair a dangerous and hazardous condition.

d) Acting with indifference toward the safety of others;

e) Failing to maintaim a safe place for its customers; and

f) Failing to insure safety of visitors;

h) All other acts of negligence which will be more fully shown at the time of trial of
this matter.

VIL.

The above described acts were caused solely and/or concurrently through the negligent
acts and/or omissions of WINN-DIXIE STORES, INC. and/or WINN DIXIE
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a) Failing to maintain its premises in a sate and hazard free condition

b) Fatling to warn its patrons of a hazardous and dangerous condition;

c) Failing to repair a dangerous and hazardous condition.

d) Acting with indifference toward the safety of others:

e) Failing to maintain a safe place for its customers; and

f} Failing to insure safety of visitors;

g) All other acts of negligence which will be more fully shown at the time of trial of this

matter.

VIII.
WHEREFORE, your petitioner prays that the defendanis, WINN-DIXIE STORES, INC.
and/or WINN DIXIE MONTGOMERY, LLC be duly cited and served with a copy of this
petition and that after due proceedings had there be judgment herein in favor of your petitioner,

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DIANE RATCLIEF and against defendants in a true and full sum in excess of FIFTY
THOUSAND ($50,000.00) DOLLARS together with legal interest from the date of judicial

demand until paid, for all costs of these proceedings and for all general and equitable relief.

Respectfully submitted,

CN

Joseph M. Bxuno, Jr. #80229
BRUNO & BRUNO

855 Baronne Street

New Orleans, Louisiana 70113
Telephone: (504) 525-1335
Facsimile: (504) 581-1493

Email: josephjr@brunobrunclaw.com

 

PLEASE SERVE WITH PETITION AND INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS:

WINN-DIXIE STORES, INC

THROUGH ITS AGENT FOR SERVICE OF PROCESS
CORPORATION SERVICE COMPANY

501 LOUISIANA AVENUE

BATON ROUGE, LA 70802

WINN-DIXIE MONTGOMERY, LLC
CSC OF ST. TAMMANY PARISH, INC.
4600 HIGHWAY 22, SUITE 9
MANDEVILLE, LA 70471

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